Case 22-01002   Doc 2   Filed 06/09/22 Entered 06/09/22 15:37:04            Desc Main
                           Document    Page 1 of 2




                                                                  22-1002




                                                                        (Kevin Waldrep)




                           U. S. Bankruptcy Court
                           300 Willow Street, Suite 100
                           Beaumont, TX 77701




                                                Erica Seleste Lequet, Pro Se
                                                719 North 14th Street
                                                Nederland, TX 77627




                                                    /S/ Jason McDonald

                                                                 Date: 06/09/2022
Case 22-01002   Doc 2   Filed 06/09/22 Entered 06/09/22 15:37:04   Desc Main
                           Document    Page 2 of 2
